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                             UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF INDIANA
                                 NEW ALBANY DIVISION

 JOHN L. RITCHIE,                          )
                                           )
                            Plaintiff,     )
                                           )
                         v.                )                  No. 4:19-cv-00084-SEB-DML
                                           )
 ANDREW M. SAUL Commissioner of the Social )
 Security Administration,                  )
                                           )
                            Defendant.     )


                  ORDER ADOPTING REPORT AND RECOMMENDATION

        The Magistrate Judge submitted her Report and Recommendation on Plaintiff’s

 Complaint for Judicial Review. The parties were afforded due opportunity pursuant to statute and

 the rules of this Court to file objections; none were filed. The Court, having considered the

 Magistrate Judge’s Report and Recommendation, hereby adopts the Magistrate Judge’s Report

 and Recommendation.



                  11/2/2020
        Date: _________________                     _______________________________
                                                     SARAH EVANS BARKER, JUDGE
                                                     United States District Court
                                                     Southern District of Indiana



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